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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

 CLINTON BROWN,                                              Case No. 2:23-cv-02938-MEMF-KS
                   Plaintiff,                                Plaintiff’s Speaking1 Reply to Defendant’s
          vs.                                                Opposition to MPD2
 STEVE SMEAD                                                 Judge: Honorable Maame Ewusi-Mensah
                   Defendant.                                Frimpong
                                                             Chief Magistrate Judge: Karen L.
                                                             Stevenson
                                                             Date: August 29, 2024
                                                             Time: 2 P.M.
                                                             Place: Courtroom 8B

          NOTICE TO THE COURT3, there is a buyer and seller or seller and buyer. In other

 words, “the antifraud provisions” [of the Acts] apply equally to a buyer and seller or seller and

 buyer. Just to be perfectly clear here, we must take this one step at a time. As such, the sufficiency

 of the FAC stands and falls on its ability to prove that an investment contract (security) was bought

 or sold. It doesn’t matter who bought or who sold the investment contract. It is either a yes or no.

          The Plaintiff is arguing three (3) specific points why he will suffer undue prejudice if this

 Motion for Particularized Discover (“MPD”) is not granted.4 a) The risk of evidence loss, b) delay

 in case resolution, and c) the prevention of unjust outcomes.

 1
   See ECF No. 52 (“G-120 Form”); ECF No. 63. (“Request to Extend Reply to MPD”); ECF No. 64-2 (“In Lieu...”).
 2
   Under L.R. 7-3, Counsel are not required to have more than one meaningful meet and confer, and as the Defendant
 stated in his Opp’n, the parties had two meaningful meet and confers regarding the MPD. “Plaintiff, without holding
 a further necessary meet and confer, filed his Motion for Particularized Discovery.” See ECF No. 61 at 4. Like, wow.
 3
   See generally, Peter Charles Hoffer, The Supreme Court Footnote: A Surprising History (NYU Press, June 18, 2024).
 4
   Both parties will arguably suffer undue prejudice if the MPD is not granted. Infra. At the MTD oral argument on
 June 6, 2024, the Plaintiff expressed a desire to not file a second amended complaint. But more facts have unfolded in
 this live case. In any event, the Ninth Circuit requires that [] policy favoring amendment[s] be applied with “extreme
 liberality.” See Morongo Band of Mission Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir. 1990); See also, Polich v.
 Burlington Northern, Inc., 942 F.2d 1467, 1472 (9th Cir. 1991).
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     15 U.S.C. § 77z-1(b)(1) and § 78u-4(b)(3)(B) commands this Court in the pertinent part…

          [U]nless5 the [C]ourt finds upon the motion of any6 party that particularized 7discovery is

 necessary8 to preserve evidence or to prevent9 undue10 prejudice11 to that party. “Respect,” though,

 [is] just that.12 In the business of statutory interpretation, if it is not the best, it is not permissible.

 Id, slip op. at 23. In any event, there is little value in imposing a uniform interpretation of a statute

 if that interpretation is wrong. [The Court] see[s] no reason to presume that Congress prefers

 uniformity for uniformity’s sake over the correct interpretation of the laws it enacts. Id. slip op. at

 25. And many or perhaps most statutory ambiguities may be unintentional. As the Framers

 recognized, ambiguities will inevitably follow from “the complexity of objects…the imperfection

 of the human faculties,” and the simple fact that “no language is so copious as to supply words and

 phrases for every complex idea.” The Federalist No. 37, 236 (J. Cooke ed. 1961) (J. Madison). Id.

 slip op. at 22; See also, Pulsifer v. United States, 601 U. S. 124, 133 (2024) (choosing between

 “two grammatically permissible ways” to read a sentencing statute “by reviewing text in context”)


 5
   If it be not that; if it be not the case that; if not, supposing not; if it be not; except. A reservation or option to change
 one’s mind provided a certain event happens, a conditional promise. A subordinate conjunction in common usage,
 connecting a dependent or subordinate clause to the main clause of a sentence. See Black's Law Dictionary 1536
 (Centennial ed. 1991). (“Centennial ed.”)
 6
   Isn’t it curious that the Congress chose the word ‘any’ here? See Lamie v. U.S. Trustee, 540 U.S. 526, 536 (2004).
 Put otherwise, the Defendant could file a MPD for the same unless relief that the Plaintiff has. If the Plaintiff were
 being sued in a civil action for violating ‘the antifraud provisions’ of the Acts, then he would still file a MPD, just as
 he has done here, to bring forth the records that are pertinent…to clear the air, without prejudice to any party. But he
 has nothing to hide. On the other hand, the Defendant in this case does.
 7
   Relating to a part or portion of anything; separate; sole; single; individual; specific; local; comprising a part only;
 partial in extent; not universal. Opposed to general. Centennial ed. at 1119.
 8
   This word must be considered in the connection in which it is used, as it is a word susceptible of various meanings.
 It may import absolute physical necessity or inevitability, or it may import that which is only convenient, useful,
 appropriate, suitable, proper, or conducive to the end sought. It is an adjective expressing degrees and may express
 mere convenience or that which is indispensable or an absolute physical necessity. It may mean something which in
 the accomplishment of a given object cannot be dispensed with, or it may mean something reasonably useful and
 proper, and of greater or lesser benefit or convenience, and its force and meaning must be determined with relation to
 the particular object sought; Of, or pertaining to, a single person, class or thing. Centennial ed. at 1029.
 9
   To hinder, frustrate, prohibit, impede, or preclude; to obstruct; to intercept. To stop or intercept the approach, access,
 or performance of a thing. Centennial ed. at 1188.
 10
    More than necessary; not proper; illegal. It denotes something wrong, according to the standard of morals which the
 law enforces in relations of men, and in fact illegal, and qualifies the purpose with which influence is exercised or
 result which it accomplishes. Centennial ed. at 1528
 11
    A fore judgment; bias; partiality; preconceived opinion. A leaning towards one side of a cause for some reason other
 than a conviction of its justice. Centennial ed. at 1179.
 12
    See Loper Bright Enterprises v. Raimondo, No. 22-451, slip op. at 9 (U.S. June 28, 2024) (Roberts, C.J.) (“Chevron
 is overruled.”) Id. slip op., at 35.
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 (i.e. and…or). Given the purpose of the 1933 and 1934 acts and their broad remedial reach, is it

 plausible that Congress rolled back The Acts broad remedial purpose in the PSLRA? There is no

 evidence that Congress “threw out the baby with the bath water” with the PSLRA. “Congress may

 regulate the making and performance of private contracts when reasonably necessary to effect any

 of the great purposes for which the National Government was created. See Highland v. Russell

 Car Co., 279 U.S. 261 (1929).13

                                                        Unless

          Unless is a conjunctional term, as either a dominate or subordinate to the main clause of

 the sentence…thus the subordinate conjunctional unless followed by the dominate main clause…

 “the [C]ourt finds.” In other words, “statutory interpretation track[s] the commonsense intuition

 that Congress would not ordinarily introduce a general term that renders meaningless the specific

 text that accompanies it.” See Loper slop op. at 5. Unless…the Court finds…“[i]t is emphatically

 the province and duty of the [J]udicial department to say what the law is.” See Marbury v. Madison,

 1 Cranch 137, 177 (1803). And in the following decades, the Court understood “interpret[ing] the

 laws, in the last resort,” to be a “solemn duty” of the Judiciary. See United States v. Dickson, 15

 Pet. 141, 162 (1841) (Story, J., for the Court). When the meaning of a statute was at issue, the

 [J]udicial role was to “interpret the act of Congress, in order to ascertain the rights of the parties.”

 (emphasis and alterations added). See Decatur v. Paulding, 14 Pet. 497, 515 (1840).14 Anything
 else “is inconsistent with “the context from which the statute arose.” See Bond v. United States,

 572 U. S. 844, 860 (2014). Cf. Fischer v. United States, No. 23–5572 (U.S. June 28, 2024) (Barrett,

 J) (dissenting) slip op. at 1. “(Who could blame Congress for [] failure of imagination?) But statutes

 often go further than the problem that inspired them, and under the rules of statutory interpretation,

 [the Court] stick[s] to the text anyway.”).

 13
    This was before the 1933 & 1934 Acts were enacted by the Congress and President. Cf. PSLRA. This footnote is
 already too long, so the Plaintiff will leave it here for now.
 14
    Unless the Court finds…that the PSLRA practically makes The Acts a dead letter for individual investors, even
 though the Congress’s subsequent legislative enactments provide more protections for individual investors. That all
 individual investors must be bottlenecked and sifted through the PSLRA class action purpose…is just insane. The
 notion that some things ‘go without saying’ applies to legislation just as it does to everyday life.” See Bond v. United
 States, 572 U. S. 844, 857 (2014).
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          The Plaintiff will give the Defendant props for saying, well, if the Court does allow for this

 very particularized discovery request, then the Court must also consider a protective order under

 Rule 26(c). Put otherwise, does the Congress’s automatic Rule 26(c)15 provide the Defendant with

 a stacked protective order? Win once, just to have to win again on the same issue? That’s

 absurdum. See ECF No. 61 at 5.

          “Disruption or prolongation of the discovery schedule is normally in no one's interest. A

 stay of discovery duplicates costs because counsel must reacquaint themselves with the case once

 the stay is lifted. Matters of importance may be mislaid or avenues unexplored. A case becomes

 more of a management problem to the Court when it leaves the normal trial track. While time may

 heal some disputes, in others it merely permits more opportunity for festering. See Kron Medical

 Corp. v. Groth, 119 F.R.D. 636, 638 (M.D.N.C. 1988). In this dispute, the investment contract

 value keeps rising, while the parties remain in limbo. See ECF No. 55 at 2. Cf. FAC ¶ 36.

          “Our decision should not be interpreted to mean that defendants may use the stay
          as a shield to insulate themselves from liability. Indeed, if the absence of discovery
          would essentially protect defendants from liability, undue prejudice would
          result. See Vacold, 2001 WL 167704, at *6; Global Intellicom, 1999 WL 223158,
          at *2; Medical Imaging Ctrs. of Am., 917 F. Supp. at 721 n. 3. For example,
          in Vacold, the plaintiffs claimed that the defendants advised the plaintiffs that no
          pharmaceutical companies were interested in investing in the company,16 Applied
          Vaccine Technologies Corp. ("AVT"), which was formed to develop virtual lymph
          node technology, thereby inducing plaintiffs to sell their shares in AVT. Contrary
          to those assertions, Johnson Johnson and its subsidiary (collectively "J J") had
          provided approximately $3 million in financing. See 2001 WL 167704, at *3. Judge
          Schwartz lifted the PSLRA stay in order to allow limited discovery on the issue of
          "the nature and timing of J J's interest and investment." Id. at *7. At oral argument,
          the defendants declined to disclose the timing of its commercial dealings with J J.17

 15
    A motion to stay discovery is tantamount to a request for a protective order prohibiting or limiting discovery
 pursuant to Rule 26(c). (emphasis added). The moving party bears the burden of showing good cause and
 reasonableness for such an order. See Kron Medical Corp. v. Groth, 119 F.R.D. 636, 637 (M.D.N.C. 1988). In other
 words, the Congress, right off the bat, provides a ‘protective order’ to the Defendant without showing good cause and
 reasonableness for such an order. Motions for a protective order which seek to prohibit or delay discovery are not
 favored. Id. With the passage of the PSLRA, all this became unnecessary. See Murray, Lifting the PSLRA "Automatic
 Stay'' of Discovery, 80 N.D. L. Rev. 405, 419 (2004).
 16
    See ECF No. 28 at 22. “The proposal was inadequate, as Plaintiff was so informed.” The Plaintiff was so informed
 on another occasion that the investment offer(s) he received were inadequate. Id.
 17
    Paraphrasing the Defendant’s declaration here, “I foreclosed out of sheer business necessity, even though I knew
 that the properties had been offered solar contracts worth millions of dollars, yet they were inadequate. And they are
 still an empty piece of desert, but I had no interest in Plaintiff’s business or made any decision for his business to make
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          Because of the lack of candor, the court held that the plaintiffs would in fact suffer
          undue prejudice.”18 See id. at *5, 7. Furthermore, the court concluded that narrowly
          limited discovery would not coerce a settlement or support a claim not alleged in
          the complaint.19 See id. at *7. Faulkner v. Verizon Communications, Inc., 156 F.
          Supp. 2d 384, 406 (S.D.N.Y. 2001).
 a) The risk of evidence loss, b) delay in case resolution, and c) the prevention of unjust outcomes.

 All those are explained in excruciating detail above.

          All that’s left is for this Court to put this jigsaw puzzle together. But the Court can’t put

 together the pieces under the cover of darkness. The Plaintiff may not need a flood light to help

 the Court put this jigsaw puzzle together, but if the Plaintiff has thus far not helped the Court to

 see that ‘economic reality’ is the driver of this claim, then a little light might bring this Court out

 from the cover of darkness to see that all is not right in this case.

                                                     Conclusion20

          The PSLRA is not a “veto overridden law” that has sent our Nation back to the pre-1933

 and 1934 times of the Blue-Sky and Bubble Act days. This Nation has checks and balances.21 A

 Defendant facing a fraud suit has the right to be tried by a jury of his peers before a neutral

 adjudicator. See Securities and Exchange Commission v. Jarkesy, 603 U.S. slip op. at 27 (June 27,

 it fail or delay its success.” Cf. ECF No. 64-1 (Declaration of Sean Chaudhuri); See also, L.R. 7-10, “a party serve
 and file a [R]eply [], and declarations or other rebuttal evidence.” † The Court is reminded that every filing from the
 Plaintiff is a declaration under penalty of perjury & until such time the Plaintiff lies to this Court, his word, should be
 held to the same low standard as any other Counsel admitted to practice before this Court. See 28 U.S.C. § 1746; 18
 U.S.C. § 1621.
 18
    There is no question that the lack of candor from the Defendant is undue prejudice to the Plaintiff. For example, at
 this point in the controversy the Court should know if the Plaintiff or the Defendant is an accredited investor. That’s
 a yes or no. But maybe that SEC interpretation of the term is on the hook now. (citation omitted). In any event, the
 position of power and the consequences of using that power to defraud and deceit is the oldest trick in the book.
 Common sense should tell this Court that something isn’t right here. No matter the legal sufficiency of the PSLRA,
 there has been a wrong here & Congress has provided a remedial course of action for the parties. (i.e. The Acts)
 19
    There will be no settlement in this case unless this Court says what the law is. And, in this case, no new allegation
 could arise because what’s in the Complaint & FAC is what the Defendant did to the Plaintiff. And, as stated in open
 Court, it seems a final decision in this controversy will provide the Plaintiff with a business blueprint sanctioned under
 the law. Albeit, fraudulent and deceitful.
 20
    For example, [F]ederal securities fraud employs the burden of proof typical in civil cases, while its common law
 analogue traditionally used a more stringent standard. See Herman & MacLean v. Huddleston, 459 U. S. 375, 387–
 390 (1983). Courts have also not typically interpreted [F]ederal securities fraud to require a showing of harm to be
 actionable by the SEC. See, e.g., Blavin, 760 F. 2d, at 711; SEC v. Life Partners Holdings, Inc., 854 F. 3d 765, 779
 (CA5 2017). Nevertheless, the close relationship between [F]ederal securities fraud and common law fraud confirms
 that this action is “legal in nature.” Granfinanciera, 492 U. S., at 53; Supra, n. 16.
 21
    [The President] plays a role in lawmaking by recommending to Congress the measures he thinks wise and signing
 or vetoing the bills Congress passes. Art. I, §7, cl. 2; Art. II, §3. See Trump v. United States, No. 23–939, slip op. at
 7 (U.S. July 1, 2024).
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 2024). This Court is not a Jury, and this Plaintiff also has a right to prove his case against a

 Defendant in front of a Jury of his peers before a neutral adjudicator. This is Federal Court, not

 state court. Federal Courts have limited jurisdiction. At bottom, this Court has decided on

 jurisdiction and so this Court must decide the case. The Court should not utilize any form of a bunt

 to not decide this case fairly & squarely.

          Last, it’s not enough for a man to bring deceit and fraud upon another man in this

 Courtroom, that’s just another day in this Court with the Defendant, for which the Court turns a

 blind eye without abandon yet. See ECF No. 55 at 2 (“RJN”).



                                                                 Respectfully submitted,22

          Dated: July 5, 2024                                    /s/ Clinton Brown, Self-Represented
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                                                                 310-487-6453


          CC: All Counsel of Record (via ECF) on July 5, 202423




 22
   This Speaking Reply is filed before a Federal Judge, Hon. MEMF, without fear or favor.
 23
   The Plaintiff is particularly unnerved that this Court has punted, once again, a PSLRA issue. Given that the opinion
 by the Court in this case will be an unpublished one…not worth the email it’s written on…just say what you’re going
 to say. This should be where a Federal Judge rises to the occasion. But here we are. The Plaintiff can’t get a response
 from the Defendant nor from the Federal Court. Shutout.
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                                    Other Rebuttal Evidence

       Note: Contemporaneous Final Oral Arguments (date/time) In Lieu of Pending
       Transcript (prior to tentative ruling, infra.) See ECF No. 64-2. Final Transcript will
       be available to the Court when released in accord with L.R.s unless the Court orders
       the Plaintiff to refile the Reply with the exact language of the transcript when it is
       received by the Plaintiff from the Court Reporter. See L.R. 7-12; 18 U.S.C. §
       1512(c)(1); Fischer v. United States, 603 U.S. ____ (2024); See also, ECF No. 11
       at 28-29, 31. Cf. FAC ¶49 (“The defendant purchased a Nevada solar property deed
       of trust from the Plaintiff for 50% of the recorded value on or around September
       2022.”).




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       /s/ Clinton Brown
